                                       United States Bankruptcy Court
                                       Northern District of Alabama
In re:                                                                                  Case No. 11-83381-JAC
Anthony Lee Pierce                                                                      Chapter 13
Peggy Harbin Pierce
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 1126-8           User: lcohn                  Page 1 of 3                   Date Rcvd: Mar 13, 2012
                               Form ID: pdf008              Total Noticed: 34


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 15, 2012.
db/jdb        +Anthony Lee Pierce,    Peggy Harbin Pierce,     8754 Moores Mill Road,
                Meridianville, Al 35759-1404
cr            +Bank of America, N.A. c/o Prober & Raphael, A Law,      20750 Ventura Blvd, Suite 100,
                Woodland Hills, CA 91364-6207
cr            +Deere & Company,    S. Dagnal Rowe,    Wilmer & Lee, P.A.,     P. O. Box 2168,
                Huntsville, AL 35804-2168
cr             REdstone Federal Credit Union,     c/o C. Howard Grisham,    Post Office Box 5585,
                Huntsville, AL 35814-5585
cr            +USDA-FSA,    Alabama State FSA Office,     P.O. Box 235013,    Montgomery, AL 36123-5013
7242074        AMERICAN EXPRESS BANK FSB,     C/O BECKET AND LEE LLP,    POB 3001,    MALVERN PA 19355-0701
7124872       +American Express,    P.O. Box 981535,    El Paso, TX 79998-1535
7124873       +Bank of America,    P.O. Box 851001,    Dallas, TX 75285-1001
7124866       +Bank of America,    P.O. Box 5170,    Simi Valley, CA 93062-5170
7124874        Bonner Land and Cattle, Co.,     388 Frank Hereford Rd.,    New Market, AL 35761
7155097       +Capital One, N.A.,    c/o Creditors Bankruptcy Service,     P.O. Box 740933,    Dallas, TX 75374-0933
7124875       +Chase BP,    P.O. Box 15298,    Wilmington, DE 19850-5298
7186053        Chase Bank USA, N.A.,    PO Box 15145,     Wilmington, DE 19850-5145
7124876       +Citgo,    P.O. Box 6401,   Sioux Falls, SD 57117-6401
7146510        Deere & Company,    6400 N.W. 86th Street,     P. O. Box 6600,    Johnston, Iowa 50131-6600
7126713        FIA CARD SERVICES, N.A.,     PO Box 15102,    Wilmington, DE 19886-5102
7124878       +Home Depot,    P.O. Box 653000,    Dallas, TX 75265-3000
7124867       +John Deere Financial,    P.O. Box 6600,     Johnston, IA 50131-6600
7146512        John Deere Financial, f.s.b, f/k/a,     FPC Financial, f.s.b.,     6400 N.W. 86th Street,
                P.O. Box 6600,    Johnston, Iowa 50131-6600
7124879       +Juniper Card Services,    P.O. Box 13337,     Philadelphia, PA 19101-3337
7124882       +Madison County Cooperative,     P.O. Box 68,    Hazel Green, AL 35750-0068
7124868        Redstone Federal Credit Union,     220 Wynn Drive,    Huntsville, AL 35806
7210889       +THE BANK OF NEW YORK MELLON, et al,     c/o Bank of America, N.A.,
                Bk. Dept. Mail Stop: CA6-919-01-23,     400 National Way,     Simi Valley, CA 93065-6414
7124869       +Titlemax,    2710 South Memorial Parkway,     Huntsville, AL 35801-5631
7124884       +USDA,   Moulton Service Center,     13075 Ala. Hwy 157, Ste 3,     Moulton, AL 35650-6579
7124870        USDA/FSA,    Operation Office,    P.O. Box 200003,    Saint Louis, MO 63120-0003
7124871       +Wells Fargo Home Mortgage,     P.O. Box 660455,    Dallas, TX 75266-0455

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
7250010      +E-mail/Text: bncmail@w-legal.com Mar 13 2012 19:15:02      CANDICA, LLC,
               C O WEINSTEIN AND RILEY, PS,    2001 WESTERN AVENUE, STE 400,   SEATTLE, WA 98121-3132
7124877       E-mail/PDF: mrdiscen@discoverfinancial.com Mar 13 2012 21:11:00      Discover,    P.O. Box 30943,
               Salt Lake City, UT 84130
7129664       E-mail/PDF: mrdiscen@discoverfinancial.com Mar 13 2012 21:11:00      Discover Bank,
               DB Servicing Corporation,    PO Box 3025,   New Albany, OH 43054-3025
7124880      +E-mail/Text: bnckohlsnotices@becket-lee.com Mar 13 2012 19:11:30       Kohl’s,   P.O. Box 2983,
               Milwaukee, WI 53201-2983
7124881      +E-mail/PDF: gecsedi@recoverycorp.com Mar 13 2012 20:30:52      Lowe’s,    P.O. Box 530914,
               Atlanta, GA 30353-0914
7124883      +E-mail/Text: Bankruptcy@redfcu.org Mar 13 2012 19:14:00      Redstone Federal Credit Union Visa,
               220 Wynn Drive,   Huntsville, AL 35893-0001
7145609      +Fax: 912-629-1538 Mar 13 2012 19:40:35      TitleMax of Alabama, INC. d/b/a TitleMax,
               Attn: Mary Beth Concran,   15 Bull Street, Suite 200,    Savannah, GA 31401-2686,
               (912) 525-2675
                                                                                              TOTAL: 7

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                           TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.




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               ***** BYPASSED RECIPIENTS (continued) *****




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Mar 15, 2012                                       Signature:




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The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 12, 2012 at the address(es) listed below:
              C Howard Grisham    on behalf of Creditor REdstone Federal Credit Union pcornelius@comcast.net
              Diane C Murray    on behalf of Creditor WELLS FARGO BANK, N.A. ndbankruptcy@sirote.com
              Jeffrey L Cook    on behalf of Creditor REdstone Federal Credit Union jcook7117@yahoo.com
              Kevin D. Heard    on behalf of Debtor Anthony Pierce kheard@heardlaw.com,
               aary@heardlaw.com;sandy@heardlaw.com;kheard619@gmail.com;adauro@heardlaw.com;bstonemetz@heardlaw.
               com
              Philip A Geddes    ecf@pgeddes.com
              Richard E. O’Neal    on behalf of Creditor USDA-FSA USA-ALN-Bankruptcy@usdoj.gov
              S. Dagnal Rowe    on behalf of Creditor Deere & Company drowe@wilmerlee.com,
               dbranche@wilmerlee.com
              Taylor Patrick Brooks    on behalf of Trustee Taylor Brooks tpb@lfsp.com, cashwell@lanierford.com
                                                                                            TOTAL: 8




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                                                          United States Bankruptcy Court
                                                                Northern District of Alabama
           Anthony Lee Pierce
 In re     Peggy Harbin Pierce                                                                                Case No.   11-83381-12
                                                                                 Debtor(s)                    Chapter    13



                                                                       CHAPTER 13 PLAN
1.   Payments to the Trustee: The future earnings or other future income of the Debtor is submitted to the supervision and control of
     the trustee. The Debtor (or the Debtor's employer) shall pay to the trustee the sum of $750.00 per month for 60 months.

     Total of plan payments: $45,000.00

2.   Plan Length: This plan is estimated to be for 60 months.

3.   Allowed claims against the Debtor shall be paid in accordance with the provisions of the Bankruptcy Code and this Plan.

     a.    Secured creditors shall retain their mortgage, lien or security interest in collateral until the earlier of (a) the payment of the
           underlying debt determined under nonbankruptcy law, or (b) discharge under 11 U.S.C. § 1328.

     b.    Creditors who have co-signers, co-makers, or guarantors ("Co-Obligors") from whom they are enjoined from collection
           under 11 U.S.C. § 1301, and which are separately classified and shall file their claims, including all of the contractual interest
           which is due or will become due during the consummation of the Plan, and payment of the amount specified in the proof of
           claim to the creditor shall constitute full payment of the debt as to the Debtor and any Co-Obligor.

     c.    All priority creditors under 11 U.S.C. § 507 shall be paid in full in deferred cash payments.

4.   From the payments received under the plan, the trustee shall make disbursements as follows:

     a.    Administrative Expenses
           (1) Trustee's Fee: 10.00%
           (2) Attorney's Fee (unpaid portion): NONE
           (3) Filing Fee (unpaid portion): NONE

     b.    Priority Claims under 11 U.S.C. § 507

           (1) Domestic Support Obligations

                 (a) Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim.

                 (b) The name(s) and address(es) of the holder of any domestic support obligation are as follows. See 11 U.S.C. §§
                 101(14A) and 1302(b)(6).

                   -NONE-

                 (c) Anticipated Domestic Support Obligation Arrearage Claims. Unless otherwise specified in this Plan, priority claims
                 under 11 U.S.C. § 507(a)(1) will be paid in full pursuant to 11 U.S.C. § 1322(a)(2). These claims will be paid at the
                 same time as claims secured by personal property, arrearage claims secured by real property, and arrearage claims for
                 assumed leases or executory contracts.

                        Creditor (Name and Address)                               Estimated arrearage claim         Projected monthly arrearage payment
                        -NONE-

                 (d) Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims are assigned to, owed
                 to, or recoverable by a governmental unit.

                        Claimant and proposed treatment:                -NONE-




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           (2) Other Priority Claims.

                        Name                                                                        Amount of Claim          Interest Rate (If specified)
                        -NONE-

     c.    Secured Claims

           (1) Pre-Confirmation Adequate Protection Payments. Pre-confirmation adequate protection payments to the following
           Creditors holding allowed claims secured by a purchase money security interest in personal property shall be paid by the
           Trustee through the plan as provided below. Adequate protection payments shall not accrue or be paid until the Creditor
           files a proof of claim. The principal amount of the Creditor's claim shall be reduced by the amount of the adequate
           protection payments remitted.

               Name                                                    Description of Collateral                      Pre-Confirmation Monthly Payment
               Redstone Federal Credit Union                           2007 Dodge Durango                                                       108.50
               Titlemax                                                1999 Dodge Ram 3500                                                      182.50

           (2) Secured Debts Which Will Not Extend Beyond the Length of the Plan

                 (a) Secured Claims Subject to Valuation Under § 506. The Debtor moves the Court to value collateral as follows
                 according to 11 U.S.C. § 506(a). Each of the following secured claims, if allowed, shall be paid through the plan in
                 equal monthly payments set forth below, until the secured value or the amount of the claim, whichever is less, has been
                 paid in full. Any remaining portion of the allowed claim shall be treated as a general unsecured claim. Any claim with a
                 secured value of $0 shall be treated as a general unsecured claim.

                                                                       Proposed Amount of
               Name                                                    Allowed Secured Claim               Monthly Payment     Interest Rate (If specified)
               Redstone Federal Credit Union                                  10,850.00                             276.90                 5.25%
               Titlemax                                                        1,825.00                              46.58                 5.25%

                 (b) Secured Claims Not Subject to Valuation Under § 506. Each of the following claims, if allowed, shall be paid
                 through the plan in equal monthly payments set forth below, until the amount of the claim as set forth in the Creditor's
                 proof of claim has been paid in full.

                                                                       Proposed Amount of
               Name                                                    Allowed Secured Claim               Monthly Payment     Interest Rate (If specified)
               -NONE-

           (3) Secured Debts Which Will Extend Beyond the Length of the Plan

               Name                                                        Amount of Claim                 Monthly Payment     Interest Rate (If specified)
               -NONE-

     d.    Unsecured Claims
           (1) Special Nonpriority Unsecured: Debts which are co-signed or are non-dischargeable shall be paid in full (100%).

                        Name                                                                       Amount of Claim           Interest Rate (If specified)
                        -NONE-

           (2) General Nonpriority Unsecured: Other unsecured debts shall be paid 2 cents on the dollar and paid pro rata, with no
               interest if the creditor has no Co-obligors, provided that where the amount or balance of any unsecured claim is less than
               $10.00 it may be paid in full.


5.   The Debtor proposes to cure defaults to the following creditors by means of monthly payments by the trustee:

                      Creditor                                                                 Amount of Default to be Cured Interest Rate (If specified)
                      Wells Fargo Home Mortgage                                                           13,300.00                       5.25%

6.   The Debtor shall make regular payments directly to the following creditors:

               Name                                                       Amount of Claim              Monthly Payment         Interest Rate (If specified)
               Wells Fargo Home Mortgage                                    117,072.00                      1,900.00                        0.00%

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7.   The employer on whom the Court will be requested to order payment withheld from earnings is:
     NONE. Payments to be made directly by debtor without wage deduction.


8.   The following executory contracts of the debtor are rejected:

               Other Party                                                         Description of Contract or Lease
               -NONE-

9.   Property to Be Surrendered to Secured Creditor

               Name                                                         Amount of Claim         Description of Property
               John Deere Financial                                           102,550.00            Farm Equipment
               John Deere Financial                                            13,000.00            John Deere Rake
               John Deere Financial                                             9,500.00            John Deere Mower
               USDA/FSA                                                        61,600.00            8780 Moores Mill Road
                                                                                                    Meridianville, Alabama
                                                                                                    5.10 Acres & Farm Equipment

10. The following liens shall be avoided pursuant to 11 U.S.C. § 522(f), or other applicable sections of the Bankruptcy Code:

               Name                                                         Amount of Claim         Description of Property
               Bank of America                                                 65,528.00            8754 Moores Mill Road
                                                                                                    Meridianville, Alabama
               USDA/FSA                                                               0.00          8754 Moores Mill Road
                                                                                                    Meridianville, Alabama

11. Title to the Debtor's property shall revest in debtor on confirmation of a plan.

12. As used herein, the term "Debtor" shall include both debtors in a joint case.

13. Other Provisions:

Date March 12, 2012                                                    Signature   /s/ Anthony Lee Pierce
                                                                                   Anthony Lee Pierce
                                                                                   Debtor


Date March 12, 2012                                                    Signature   /s/ Peggy Harbin Pierce
                                                                                   Peggy Harbin Pierce
                                                                                   Joint Debtor




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